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                        IN THE UNITED STATES DISTRICT COURT
                                      DISTRICT OF UTAH

 Kane County, et al
                          Plaintiff(s),             Case No. 2:10-CV-1073, 2:11-CV-1045

     vs.

 USA, et al

                          Defendant(s).


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